         Case 1:18-cr-10391-RGS Document 13 Filed 10/25/18 Page 1 of 5



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                     Criminal No.
 UNITED STATES OF AMERICA
                                                     Violations:
                V.

                                                     Counts One through Three:
 DEREK SHEEHAN,                                      Sexual Exploitation of Children
                                                     (18U.S.C. §§ 2251(a) and (e))
                       Defendant
                                                     Forfeiture Allegation:
                                                     (18U.S.C. § 2253)

                                         INDICTMENT


                                         COUNT ONE
                                 Sexual Exploitation of Children
                                 (18U.S.C. §§ 2251(a) and (e))

The Grand Jury charges that:

       On various dates beginning on a date unknown to the Grand Jury, but no later than March

16, 2017, through on or about April 8, 2018, in the District of Massachusetts, the defendant,

                                       DEREK SHEEHAN,

did knowingly employ, use, persuade, induce, entice, and coerce a minor, "Minor A," to engage

in any sexually explicit conduct for the purpose ofproducing any visual depiction of such conduct

and the visual depiction was produced and transmitted using materials that had been mailed,

shipped, and transported in and affecting interstate and foreign commerce by any means, including

by computer, and attempted to do so.

       All in violation of Title 18, United States Code, Sections 2251(a) and (e).
         Case 1:18-cr-10391-RGS Document 13 Filed 10/25/18 Page 2 of 5




                                         COUNT TWO
                                 Sexual Exploitation of Children
                                 (18U.S.C. §§ 2251(a) and (e))

The Grand Jury further charges that:

       On various dates beginning on a date unknown to the Grand Jury but no later than July 5,

2018, through on or about July 14, 2018, in the District of Massachusetts, the defendant,

                                       DEREK SHEEHAN,

did knowingly employ, use, persuade, induce, entice, and coerce a minor, "Minor B," to engage in

any sexually explicit conduct for the purpose of producing any visual depiction of such conduct

and the visual depiction was produced and transmitted using materials that had been mailed,

shipped, and transported in and affecting interstate and foreign commerce by any means, including

by computer, and attempted to do so.

       All in violation of Title 18, United States Code, Sections 2251(a) and (e).
         Case 1:18-cr-10391-RGS Document 13 Filed 10/25/18 Page 3 of 5




                                        COUNT THREE
                                 Sexual Exploitation of Children
                                 (18U.S.C. §§ 2251(a) and (e))

The Grand Jury further charges that:

       On or about July 17, 2018, in the District of Massachusetts, the defendant,

                                       DEREK SHEEHAN,

did knowingly employ, use, persuade, induce, entice, and coerce a minor, "Minor C," to engage in

any sexually explicit conduct for the purpose of producing any visual depiction of such conduct

and the visual depiction was produced and transmitted using materials that had been mailed,

shipped, and transported in and affecting interstate and foreign commerce by any means, including

by computer, and attempted to do so.

       All in violation of Title 18, United States Code, Sections 2251(a) and (e).
         Case 1:18-cr-10391-RGS Document 13 Filed 10/25/18 Page 4 of 5



                   CHILD PORNOGRAPHY FORFEITURE ALLEGATION
                                        (18U.S.C. §2253)

        1.     Upon conviction of any ofthe offenses in violation of Title 18, United States Code,

 Section 2252A(a)(5)(B), set forth in Counts One through Three ofthis Indictment, the defendant,

                                       DEREK SHEEHAN,

 shall forfeit to the United States of America, pursuant to Title 18, United States Code, Section

 2253, (i) any visual depiction described in sections 2251, 2251A, 2252, 2252A, 2252B, or 2260

 of Chapter 110 of Title 18, or any book, magazine, periodical, film, videotape, or other matter

 which contains any such visual depiction, which was produced, transported, mailed, shipped, or

 received in violation of Chapter 110 of Title 18; (ii) any property, real or personal, constituting

 or traceable to gross profits or other proceeds obtained from such offenses; and (iii) any property,

 real or personal, used or intended to be used to commit or to promote the commission of such

 offenses or any property traceable to such property.

        2.     Ifany ofthe property described in Paragraph 1, above, as being forfeitable pursuant

to Title 18, United States Code, Section 2253, as a result of any act or omission of the defendant-

               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided without
                  difficulty;

it is the intention ofthe United States ofAmerica, pursuant to Title 18, United States Code, Section

2253(b), incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant up to the value of the property described in Paragraph 1 above.

       All pursuant to Title 18, United States Code, Section 2253.

                                                 4
         Case 1:18-cr-10391-RGS Document 13 Filed 10/25/18 Page 5 of 5




                                                      A TRUE BILL




                                                      FOfiBPERSON




ANNE PARUTI
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF MASSACHUSETTS



District of Massachusetts: OCTOBER           , 2018
Returned into the District Court by the Grand Jurors and filed.



                                                      )EPUTYCLERK

                                                        /o15cs|
